   Case 2:10-md-02179-CJB-DPC Document 3253-1 Filed 07/11/11 Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG                          MDL NO. 2179
DEEPWATER HORIZON IN THE
GULF OF MEXICO, ON APRIL 20, 2010

IN RE THE COMPLAINT AND PETITION OF
TRITON ASSET LEASING GMBH, ET AL., IN A                          SECTION: J
CAUSE FOR EXONERATION FROM OR
LIMITATION OF LIABILITY
                                                         JUDGE BARBIER
THIS DOCUMENT RELATES TO:
2:10-CV-02771 and 10-CV-2179                             MAGISTRATE JUDGE SHUSHAN

                                   NOTICE OF SUBMISSION

       Please take notice that the undersigned party shall bring on its Motion to Dismiss

Weatherford’s Counter-Claim/Cross-Claim for submission to the Honorable Carl J. Barbier,

United States District Court, Eastern District of Louisiana, 500 Poydras Street, New Orleans,

Louisiana, 70130 at 9:30 a.m. on the 3rd day of August, 2011, or as soon thereafter as counsel

may be heard.

Date: July 11, 2011

                                               Respectfully submitted,

                                               WARE, JACKSON, LEE & CHAMBERS, LLP


                                               BY: _/s/ C. Dennis Barrow, Jr.____________
                                                    Don Jackson
                                                    Texas Bar No. 10476000
                                                    Fed ID No. 6915
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   Case 2:10-md-02179-CJB-DPC Document 3253-1 Filed 07/11/11 Page 2 of 2




                                                        Fax    : (713) 659-6262

                                                   Counsel for Defendant, Dril-Quip, Inc.




                               CERTIFICATE OF SERVICE

       I certify that the above and foregoing Notice of Submission will be served on all counsel
by electronically uploading the same to LexisNexis File & Serve in accordance with Pretrial
Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of the
United States District Court for the Eastern District of Louisiana by using the CM/ECF System
which will send a notice of electronic filing in accordance with the procedures established in
MDL 2179, on this 11th day of July, 2011.



                                                     /s/ C. Dennis Barrow, Jr._______________
                                                     C. Dennis Barrow, Jr.




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